            Case 2:11-cr-00198-MCE Document 25 Filed 04/27/12 Page 1 of 2


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 5
 6   Attorney for Defendant
     CRYSTAL RUSSO
 7
 8
 9                          IN THE UNITED STATES DISTRICT COURT
10                         FOR THE EASTERN DISTRICT OF CALIFORNIA
11
12
13   UNITED STATES OF AMERICA,       )       No. 2:11-CR-0198 MCE
                                     )
14                  Plaintiff,       )
                                     )       STIPULATION AND ORDER CONTINUING
15        v.                         )       STATUS CONFERENCE AND EXCLUDING
                                     )       TIME AS TO DEFENDANT RUSSO
16   ALONZO STEVE BARNETT and        )
     CRYSTAL RUSSO,                  )
17                                   )       Date: April 26, 2012
                    Defendants.      )       Time: 9:00 a.m.
18                                   )       Judge: Hon. Morrison C. England
     _______________________________ )
19
20
21         IT IS HEREBY STIPULATED AND AGREED between plaintiff, United States
22   of   America,   and    defendant   Crystal   Russo,   through   their   respective
23   attorneys, that the status conference scheduled (as to Ms. Russo only)
24   for April 26, 2012, may be continued to May 24, 2012, at 9:00 a.m.
25         Codefendant Barnett was arraigned last week and a status conference
26   scheduled for May 24.       Ms. Russo was arraigned in mid-March and a status
27   conference was set for April 26.      The parties have agreed to continue the
28   latter status conference to May 24.             Counsel for Ms. Russo seeks
               Case 2:11-cr-00198-MCE Document 25 Filed 04/27/12 Page 2 of 2


 1   additional time to review discovery, which has yet to be completed, and
 2   to   do    research   and   investigation.       To   afford   time   for   necessary
 3   preparation and review, the parties agree that time under the Speedy
 4   Trial Act should be excluded through May 24, 2012, pursuant to 18 U.S.C.
 5   § 3161(h)(7)(A) and that the ends of justice served by taking such action
 6   outweigh the best interest of the public and the defendant in a speedy
 7   trial.
 8                                              Respectfully submitted,
 9                                              DANIEL J. BRODERICK
                                                Federal Defender
10
11   Dated:     April 24, 2012                  /s/ T. Zindel
                                                TIMOTHY ZINDEL
12                                              Assistant Federal Defender
                                                Attorney for CRYSTAL RUSSO
13
14                                              BENJAMIN B. WAGNER
                                                United States Attorney
15
16   Dated:     April 24, 2012                  /s/ T. Zindel for D. McConkie
                                                DANIEL McCONKIE
17                                              Assistant U.S. Attorney
18                                         O R D E R
19         The status conference involving Ms. Russo is continued to May 24,
20   2012, at 9:00 a.m.       For the reasons given above, the court finds that the
21   ends of justice to be served by a continuance outweigh the best interests
22   of the public and the defendant in a speedy trial and therefore excludes
23   time under the Speedy Trial Act through May 24, 2012.
24         IT IS SO ORDERED.
25
      Dated: April 26, 2012
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27                                            _____________________________
                                              MORRISON C. ENGLAND, JR.
28
                                              UNITED STATES DISTRICT JUDGE

     Stip. & Order                              2
